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    GIBSON, DUNN & CRUTCHER LLP
    200 Park Avenue
    New York, NY 10166-0193
    (212) 351-4000
    Mitchell A. Karlan
    David M. Feldman
    James L. Hallowell

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------x
                                                                      :
    In re                                                             :
                                                                          Chapter 11 Case No.
                                                                      :
    MOTORS LIQUIDATION COMPANY, et al.,                               :
                                                                          09-50026 (MG)
    f/k/a General Motors Corp., et al.                                :
                                                                      :
                                                                          (Jointly Administered)
                               Debtors.                               :
                                                                      :
    ------------------------------------------------------------------x


             NOTICE OF MOTION OF GIBSON, DUNN & CRUTCHER LLP
         TO WITHDRAW AS COUNSEL OF RECORD FOR THE GUC TRUST AND
          WILMINGTON TRUST COMPANY AS GUC TRUST ADMINISTRATOR
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              WHEREAS, Gibson, Dunn & Crutcher LLP (“Gibson Dunn”) is currently counsel

    of record for the Motors Liquidation Company GUC Trust (the “GUC Trust”) and

    Wilmington Trust Company in its capacity as trust administrator and trustee of the GUC

    Trust (in such capacity, the “GUC Trust Administrator”);

              WHEREAS, Wilmington Trust Company has informed Gibson Dunn that it has

    retained Drinker Biddle & Reath LLP (“DBR”) as new counsel of record for the GUC Trust

    and the GUC Trust Administrator;

              WHEREAS, on February 7, 2018 DBR filed a notice of appearance in the above-

    captioned matter as counsel of record for the GUC Trust and the GUC Trust Administrator

    [ECF No. 14218]; and

              WHEREAS, as a result of the foregoing, Gibson Dunn seeks to withdraw as counsel

    for the GUC Trust and the GUC Trust Administrator in connection with the above-captioned

    matter.

              NOW     THEREFORE,       PLEASE         TAKE   NOTICE       THAT,     pursuant    to

    Rule 2090-1(e) of the Local Bankruptcy Rules for the Southern District of New York, and

    upon the accompanying Affirmation of Mitchell A. Karlan and all other papers and

    proceedings herein, the undersigned firm of Gibson, Dunn & Crutcher LLP hereby moves

    this Court, before the Honorable Martin Glenn, United States Bankruptcy Judge for the

    Southern District of New York, on a date and time to be set by the Court, for an order,

    substantially as set forth in Exhibit A hereto, granting its Motion to Withdraw as counsel for

    the GUC Trust and Wilmington Trust Company as GUC Trust Administrator.




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    Dated: New York, New York
           February 12, 2018


                                       GIBSON, DUNN & CRUTCHER LLP

                                       By: /s/ Mitchell A. Karlan
                                       Mitchell A. Karlan
                                       David M. Feldman
                                       James L. Hallowell
                                       200 Park Avenue
                                       New York, NY 10166-0193
                                       (212) 351-4000




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                              EXHIBIT A
                                 [Proposed Order]
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------x
                                                                      :
    In re                                                             :
                                                                                Chapter 11 Case No.
                                                                      :
    MOTORS LIQUIDATION COMPANY, et al.,                               :
                                                                                09-50026 (MG)
    f/k/a General Motors Corp., et al.                                :
                                                                      :
                                                                                (Jointly Administered)
                               Debtors.                               :
                                                                      :
    ------------------------------------------------------------------x
        ORDER PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1(e) AUTHORIZING
          THE WITHDRAWAL OF GIBSON, DUNN & CRUTCHER AS COUNSEL OF
         RECORD FOR THE GUC TRUST AND THE GUC TRUST ADMINISTRATOR

             Upon the motion, dated February 12, 2018 (the “Motion”)1 of Gibson, Dunn &

    Crutcher LLP (“Gibson Dunn”) seeking authority pursuant to Rule 2090-1(e) of the Local

    Bankruptcy Rules for the Southern District of New York (the “Local Rules”) to withdraw as

    counsel of record for the Motors Liquidation Company GUC Trust (the “GUC Trust”) and

    Wilmington Trust Company as trust administrator and trustee (in such capacity, the “GUC

    Trust Administrator”) of the GUC Trust; and any objections to the Motion having been

    settled, resolved, withdrawn or overruled; and it further appearing that proper and adequate

    notice of the Motion has been given and that no other or further notice is necessary; and after

    due deliberation thereon, and good and sufficient cause appearing therefor:

    IT IS HEREBY:

             ORDERED, that the relief requested in the Motion is granted to the extent provided

    herein; and it is further

             ORDERED, that, pursuant to Rule 2090-1(e) of the Local Rules, Gibson Dunn is

    hereby authorized to withdraw as counsel of record for the GUC Trust and the GUC Trust




    1
         Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
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    Administrator in connection with the above-captioned cases, and is hereby replaced in such

    capacity by DBR; and it is further

           ORDERED, that this Court shall retain jurisdiction of all matters and disputes arising

    in connection with or related to the interpretation or implementation of this Order.



    Dated: __________ __, 2018
           New York, New York

                                                  ____________________________________
                                                  UNITED STATES BANKRUPTCY JUDGE
